                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA,                            : Civil No. 1:24CV329
                   Plaintiff,                        :
                                                     :
              v.                                     :
                                                     :
192 ROSALYN DRIVE, ROCKINGHAM,                       :
RICHMOND COUNTY, NORTH CAROLINA,                     :
WITH ALL APPURTENANCES AND                           :
IMPROVEMENTS THEREON,                                :
                                                     :
$166,990.00 IN U.S. CURRENCY,                        :
                                                     :
and                                                  :
                                                     :
$2,993.00 IN U.S. CURRENCY,                          :
                       Defendants.                   :


                     VERIFIED COMPLAINT OF FORFEITURE

       NOW COMES Plaintiff, United States of America, by and through Sandra J.

Hairston, United States Attorney for the Middle District of North Carolina, and respectfully

states as follows:

       1.     This is a civil action in rem brought to enforce the provisions of 21 U.S.C. §

881(a) for the forfeiture of the aforesaid defendant properties which were used or intended

to be used in any manner or part to commit or to facilitate the commission of a violation of

the Controlled Substances Act, 21 U.S.C. §§ 801 et seq., punishable by more than one

year's imprisonment, or which constitute proceeds traceable to the exchange of a controlled

substance in violation of the Controlled Substances Act.




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       2.     This action is also brought to enforce the provisions of 18 U.S.C. '

981(a)(1)(A) and (C) for the forfeiture of the aforesaid defendant properties which were

involved in transactions or attempted transactions in violation of Title 18, United States

Code, Section 1956 or 1957, or constitute or were derived from proceeds traceable to an

offense constituting specified unlawful activity as defined in 18 U.S.C. ' 1956(c)(7), or a

conspiracy to commit such offense, specifically the exchange of a controlled substance in

violation of state and federal law.

       3.     The defendant properties are as follows:

              a.      192 Rosalyn Drive – is all that certain lot or parcel of land known as

192 Rosalyn Drive, Rockingham, Richmond County, North Carolina, with all

appurtenances and improvements thereon, more particularly described as follows:

       BEING all of Tract #2 according to a survey and plat made by McNeill
       Surveying and Land Planning, PLLC and duly recorded in Plat Slide 783-E
       in the Office of the Register of Deds for Richmond County, North Carolina,
       reference to which recorded plat is hereby made for a more definite
       description.

(See Exhibit A-1 attached hereto). The record title holder of the subject real property is

Mark Meland.       The property was acquired by Mark Meland on or about January 10, 2023,

by North Carolina General Warranty Deed recorded in the Richmond County Register of

Deeds at Book 1953, Pages 613 - 615.

              b.      $166,990.00 in U.S. Currency, which was seized on September 20,

2023, in Rockingham, North Carolina, and is currently in the custody of the United States


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Marshals Service; and

                 c.     $2,993.00 in U.S. Currency, which was seized September 20, 2023,

in Rockingham, North Carolina, and is currently in the custody of the United States

Marshals Service.

        4.       Plaintiff brings this action in rem in its own right to forfeit and condemn the

defendant properties.        This Court has jurisdiction over an action commenced by the

United States under 28 U.S.C. § 1345, and over an action for forfeiture under 28 U.S.C. §

1355(a).

        5.       This Court has venue pursuant to 28 U.S.C. § 1355(b)(1) and 1395.

        6.       The defendant real property 192 Rosalyn Drive has not been seized but is

located in this district, and one or more of the acts giving rise to forfeiture occurred in this

district.     The United States of America does not request authority from the Court to seize

the defendant property at this time. The United States will, as provided by 18 U.S.C. §

985(b) and (c)(1):

        a.       post notice of this action and a copy of the Complaint on the defendant real

                 property;

        b.       serve notice of this action on the defendant real property=s owner and any

                 other person or entity who may claim interest in the defendant real property;

                 and

        c.       file a Lis Pendens in the county records of the property status as a defendant

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              in this action.

       7.     Upon the filing of this complaint, Plaintiff requests that the Court issue an

arrest warrant in rem pursuant to Supplemental Rule G(3)(b) as to the U.S. Currency

defendants, which Plaintiff will execute upon the property pursuant to 28 U.S.C. § 1355(d)

and Supplemental Rule G(3)(c).

       8.     The facts and circumstances supporting the seizure and forfeiture of the

defendant properties are contained in Exhibit A, attached hereto and wholly incorporated

herein by reference.

       WHEREFORE, the United States of America prays that process of a Warrant for

Arrest and Notice In Rem be issued for the arrest of the defendant U.S. Currency; that

judgment be entered declaring the defendant properties be forfeited to the United States of

America for disposition according to law; and that the United States of America be granted

such other relief as this Court may deem just and proper, together with the costs and

disbursements of this action.




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This the 16th day of April, 2024.

                                    Respectfully submitted,

                                    SANDRA J. HAIRSTON
                                    United States Attorney



                                    /s/ Lynne P. Klauer
                                    Lynne P. Klauer
                                    Assistant United States Attorney
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                                 VERIFICATION

      Pursuant to 28 U.S.C. § 1746, I verify under penalty of perjury under the laws

of the United States of America, that the contents of the foregoing Verified Complaint

of Forfeiture are true and correct to the best of my knowledge, information and belief.



                                       ________________________________
                                       Jeffrey Gruppo
                                       Special Agent
                                       U.S. Food and Drug Administration,
                                       Office of Criminal Investigations




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